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  7
  8                               UNITED STATES DISTRICT COURT
  9             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 10
 11 Crorama, Inc.,                                       Case No.
 12                      Plaintiff,                      COMPLAINT FOR COPYRIGHT
                                                         INFRINGEMENT, INTENTIONAL
 13             v.                                       INTERFERENCE WITH
                                                         CONTRACTUAL RELATIONS,
 14 Jannette Dominguez,                                  AND UNFAIR COMPETITION
 15                      Defendant.                      DEMAND FOR JURY TRIAL
 16
 17            Plaintiff complains of Defendant as follows:
 18       1. Plaintiff Crorama, Inc. (“Crorama”) is a California corporation whose principal
 19 place of business is in Brea, California. Crorama is in the business selling mixed
 20 martial arts (MMA) apparel and accessories.                     One of Crorama's website is
 21 www.elitesports.com where it sells various highly-quality MMA products under the
 22 "Elite" brand name. See Exhibit A.
 23       2. Defendant Jannette Dominguez is an individual residing in 21431 SW 129th
 24 Court, Miami, Florida 33177-7453 and doing business as Cobra Combat. Defendant
 25 is also in the business of selling mixed martial arts apparel and accessories. Plaintiffs
 26 are informed and believe and on that basis allege that Defendant is advertising,
 27 distributing, and selling a substantial amount of MMA apparel and accessories in this
 28 district.
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  1                                 JURISDICTION AND VENUE
  2       3. This is a civil action seeking damages and injunctive relief under the Copyright
  3 Act, 17 U.S.C. § 101 et seq., and under the laws of the State of California.
  4       4. The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.
  5 §§ 1331, 1332 and 1338. Pursuant to 28 U.S.C. § 1367, this Court has supplemental
  6 jurisdiction over Crorama’s state law claims for unfair competition and intentional
  7 interference with contract in that they are so related to Crorama’s claims under the
  8 Copyright Act as to be part of the same case or controversy.
  9       5. Venue is proper pursuant to 28 U.S.C. § 1391(b) because Plaintiff’s claims
 10 arose in this District.
 11       6. This Court has personal jurisdiction over Defendant, including because
 12 Defendant has engaged in, contributed to, and induced the infringing conduct at issue
 13 within the State of California and among other things, has purposefully directed her
 14 activities at California. Upon information and belief, Crorama additionally avers that,
 15 among other things, (a) Defendant or her respective agents are doing or have been
 16 doing business continuously in the State of California and this District, (b) a
 17 substantial part of the wrongful acts committed by Defendant, and each of them, have
 18 occurred in interstate commerce, in the State of California, and in the Central District
 19 of California, and (c) Defendant knows that the damages and other harmful effects of
 20 Defendant’s infringing activities occur in California, where Crorama has its principal
 21 place of business.
 22
 23                       FACTS APPLICABLE TO ALL CLAIMS
 24       7. Crorama, Inc.'s owns a subsidiary company in Pakistan called Fabro Int. PVT
 25 LTD ("Fabro"). Fabro is responsible for hiring, managing, and paying employees in
 26 Pakistan that would perform the digital marketing for Crorama, including social
 27 media marketing, website development, search engine optimization, online reputation
 28 management and the like.
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  1       8. On or about June 1, 2018, Fabro hired Rustam Ali ("Ali") and entered into an
  2 Employment Agreement with Ali in Pakistan. The Employment Agreement imposed:
  3 (1) a non-solicitation obligation to Ali wherein Ali agreed not to offer any existing
  4 employee a job in any other company; (2) a non-compete obligation to Ali wherein
  5 Ali would not join any competitors to the company; and (3) an obligation to return all
  6 company properties including social media accounts and log-in credentials associated
  7 with them upon the termination of his employment.
  8       9. Crorama regularly updates its websites and catalog with new products. On or
  9 about March 14, 2017, Crorama created a catalog of products including pictures of
 10 athletes wearing its line of apparel and accessories. Crorama hired DGS Graphics
 11 Studios to take pictures of its model athletes. The photographs were wholly original
 12 with DGS Graphics Studios and is copyrightable subject matter. Graphics Studios
 13 assigned its rights to the pictures of the model athletes to Crorama. (hereinafter
 14 "Copyrighted Photographs")
 15       10. Shortly thereafter, in October 2017, Crorama published these pictures on
 16 various social media platforms, including Facebook and Instagram, and Crorama's
 17 website. Crorama also gave Ali access to these Copyrighted Photographs.
 18       11. On or about March 14, 2019, Crorama's president found the same pictures on
 19 Defendant's website and Instagram account. Defendant had slightly changed the
 20 pictures by replacing Plaintiff's logos on the products with Defendant's own logos and
 21 by removing the tattoos of the model. Defendant is now using the same pictures to
 22 advertise and sell the same exact products with its own logos in various places on-
 23 line, including its website (www.cobracombat.com) as shown in Exhibit B and
 24 Instagram (@cobracombatus) as shown in Exhibit C.
 25       12. Crorama's president spoke to Ali about this unauthorized copying of the
 26 Copyrighted Photographs. Ali admitted to Crorama's president that he gave access to
 27 the Copyrighted Photographs to the Defendant. Thereafer, Crorama terminated Ali's
 28 employment. At that point, Crorama found out that Ali was using an alias, Fernando.
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  1       13. In retaliation, Ali started working for the Defendant in violation of his
  2 Employment Agreement with Crorama. Upon information and belief, Defendant
  3 hired Ali despite knowing that Ali has a non-compete obligation with his previous
  4 employer. Ali aka Fernando vowed to recruit model athletes Crorama hires or
  5 previously hired for Crorama's competitor. For instance, Ali aka Fernando recruited
  6 a Jiu Jitsu athlete named Justin Miller. See Exhibit D.
  7       14. Ali has also refused to return all Crorama properties back to Crorama,
  8 including social media accounts and log-in credentials associated with them.
  9       15. Crorama's president had various correspondence with the Defendant from
 10 March 19, 2019 to the present. See Exhibits E, F, and G. Defendant admitted that
 11 (1) she now employs Ali (2) she used without authorization Plaintiff's Copyrighted
 12 Photographs, (3) Ali has introduced her to the model athletes Crorama hires or has
 13 previously hired, (4) she now uses the same model athletes for her marketing, (5) she
 14 knows that Ali still has possession of Crorama properties, and (6) that Ali has an
 15 obligation to return all company properties back to Crorama. Crorama's president has
 16 informed Defendant Ali has a non-compete obligation to Crorama as well.
 17                                          COUNT I
 18                               COPYRIGHT INFRINGEMENT
 19       16. Crorama realleges and incorporates by reference the allegations in paragraphs
 20 1 through 15, as if set forth fully herein.
 21       17. Effective as of March 2019, DGS Graphics Studios granted to Crorama all of
 22 DGS Graphics Studios' right, title and interest in the Copyrighted Photographs in the
 23 United States.
 24       18. On April 1, 2019, Crorama registered the Copyrighted Photographs with the
 25 Register of Copyrights. The Certificate of Registration bears the number VA 2-145-
 26 122. See Exhibit H.
 27       19. On or about March 2019, defendant began reproducing and distributing the
 28 Copyrighted Photographs in its website with the URL, www.cobracombat.com, its
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  1 Facebook page, and Instagram page in the United States. Unless enjoined and
  2 restrained, defendant’s conduct threatens to further infringe plaintiffs’ copyright
  3 interests.
  4       20. Defendants have infringed, and are continuing to infringe, Plaintiff’s
  5 copyrights by reproducing, adapting, distributing, and/or authorizing others to
  6 reproduce, adapt, and distribute the Copyrighted Photographs without authorization,
  7 in violation of the Copyright Act, 17 U.S.C. § 101 et seq.
  8       21. At no time has Plaintiff authorized defendant to reproduce or distribute the
  9 Copyrighted Photographs.
 10       22.Defendants’ acts of infringement are willful, in disregard of, and with
 11 indifference to the rights of Crorama.
 12       23.By reason of defendant’s infringement and threatened infringement, plaintiff
 13 has sustained and will continue to sustain substantial injury, loss and damage to its
 14 ownership rights in the copyrighted work.
 15       24.Further irreparable harm to plaintiff is imminent as a result of defendant’s
 16 conduct, and plaintiff is without an adequate remedy at law. Plaintiff is entitled to an
 17 injunction restraining defendant, its officers, directors, agents, employees,
 18 representatives and all persons acting in concert with them from engaging in further
 19 such acts of copyright infringement.
 20       25.Plaintiff is further entitled to recover from defendant the damages sustained by
 21 plaintiff as a result of defendant’s acts of copyright infringement. Plaintiff is at present
 22 unable to ascertain the full extent of the monetary damage it has suffered by reason
 23 of defendant’s acts of copyright infringement, but plaintiff is informed and believe,
 24 and on the basis of such information and belief allege, that plaintiff has sustained such
 25 damage in an amount exceeding $100,000.
 26       26.Plaintiff is further entitled to recover from defendant the gains, profits and
 27 advantages it has obtained as a result of its acts of copyright infringement. Plaintiff is
 28 at present unable to ascertain the full extent of the gains, profits and advantages
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  1 defendant has obtained by reason of its acts of copyright infringement, but plaintiff is
  2 informed and believe, and on the basis of such information and belief allege, that
  3 defendant has obtained such gains, profits and advantages in an amount exceeding
  4 $100,000.
  5                                         COUNT II
  6     INTENTIONAL INTERFERENCE WITH CONTRACTUAL RELATIONS
  7       27. Crorama realleges and incorporates by reference the allegations in paragraphs
  8 1 through 26, as if set forth fully herein.
  9       28. Crorama, through its subsidiary Fabro, entered into an Employment
 10 Agreement with Ali in Pakistan. The Employment Agreement imposed: (1) a non-
 11 solicitation obligation to Ali wherein Ali agreed not to offer any existing employee a
 12 job in any other company; (2) a non-compete obligation to Ali wherein Ali would not
 13 join any competitors to the company; and (3) an obligation to return all company
 14 properties including social media accounts and log-in credentials associated with
 15 them.
 16       29. Upon information and belief, Crorama's contract with Ali is valid and
 17 enforceable in Pakistan.
 18       30. Crorama is informed and believed, and on that basis alleges, that Defendant
 19 is aware of the contract between Crorama and Ali. Defendant is specifically aware
 20 that Ali has a non-compete obligation towards Crorama wherein Ali would not join
 21 any competitors to the company and Ali has an obligation to return to Crorama all
 22 company properties including social media accounts and log-in credentials associated
 23 with them. Nevertheless, Defendant hired Ali knowing that hiring Ali is a breach of
 24 Ali's Employment Agreement with Crorama. Defendant also continues to employ
 25 and pay Ali who in turn allows Defendant to access Crorama's social media accounts
 26 and introduces Defendant to model athletes hired by Crorama.
 27       31. By hiring Ali and continuing to employ Ali, Defendant has intentionally
 28 interfered, and continue to interfere, with the Employment Agreement between Ali
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  1 and Crorama.
  2       32.As a result of Defendant’s actions, Crorama has suffered damage in an amount
  3 to be proven at trial, including but not limited to diversion of Crorama's resources to
  4 attempt to detect and prevent the further use of the Copyrighted Photographs,
  5 decreased profits, and loss of profits from consumers who would mistakenly think
  6 that they are buying MMA apparel from Crorama as Defendant's advertising materials
  7 look like Crorama's.
  8       33. Defendant’s intentional interference with the contracts between Ali and
  9 Crorama entitles Crorama to injunctive relief and compensatory damages, the
 10 imposition of a constructive trust over Defendant’s wrongfully obtained proceeds, and
 11 other available relief.
 12       34.Defendant is guilty of oppression, fraud, or malice, and Crorama, in addition to
 13 its actual damages, by reason thereof, is entitled to recover exemplary and punitive
 14 damages against Defendant.
 15                                         COUNT III
 16                                UNFAIR COMPETITION
 17       35. Crorama realleges and incorporates by reference the allegations in paragraphs
 18 1 through 26, as if set forth fully herein.
 19       36. Cal. Bus. & Prof. Code § 17200, et seq., states that unfair competition shall
 20 mean and include any “unlawful, unfair or fraudulent business act or practice.”
 21       37. Defendant’s actions as alleged herein constitute unlawful business acts and/or
 22 practices under Cal. Bus. & Prof. Code § 17200, et seq. and the common law because
 23 she is using the Copyrighted Photogaphs of Crorama.
 24       38. Defendant’s conduct constitutes unfair business acts and/or practices because
 25 Defendant is using Crorama's information it obtained from Ali knowing that Ali is in
 26 breach of his obligations to Crorama. Defendant is using said information to unfairly
 27 compete with Crorama. Besides using the Copyrighted Photographs, Defendant is
 28 using the industry knowledge and resources of Crorama from Ali, such as Crorama's
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  1 model athletes and social media connections.
  2       39. As a direct and proximate result of Defendants’ wrongful acts, Plaintiff is
  3 likely to suffer, and/or has suffered, and is likely to continue to suffer damage to its
  4 sales and profits. Defendant will continue, unless restrained, to use the Copyrighted
  5 Photographs and use Crorama's industry knowledge, connections with model athletes,
  6 and social media connections from Crorama's ex-employee.                      This will cause
  7 irreparable damage to Plaintiff. Plaintiff has no adequate remedy at law. Plaintiff is
  8 entitled to an injunction restraining Defendants, their officers, agents, and employees,
  9 and all persons acting in concert with Defendant, from engaging in further acts of
 10 unfair competition. Such harm will continue and increase until Defendants are
 11 preliminarily and permanently enjoined from their unlawful conduct.
 12       40. Plaintiff is further entitled to recover from Defendants the actual damages that
 13 it has sustained and/or is likely to sustain as a result of Defendants’ wrongful acts.
 14 Plaintiff is presently unable to ascertain the full extent of the monetary damages that
 15 it has suffered and/or is likely to suffer by reason of Defendants’ acts of unfair
 16 competition, but they are in excess of $100,000.
 17       41. Plaintiff is further entitled to recover from Defendants the gains, profits, and
 18 advantages that Defendants have obtained as a result of its wrongful acts. Plaintiff is
 19 presently unable to ascertain the full extent of the gains, profits, and advantages that
 20 Defendant has realized by reason of its acts of unfair competition, but they are in
 21 excess of $100,000.
 22       42. Due of the willful nature of Defendant’s wrongful acts, Plaintiff is entitled to
 23 an award of punitive damages.
 24
 25            WHEREFORE, plaintiff prays as follows:
 26            1. For a temporary restraining order, preliminary and permanent injunction
 27 enjoining and restraining defendant and all persons acting in concert with it from
 28 manufacturing,       reproducing,    distributing,     adapting,      displaying,   advertising,
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  1 promoting, offering for sale and/or selling, or performing any materials that are
  2 substantially similar to the copyrighted work, and to deliver to the Court for
  3 destruction or other reasonable disposition all such materials and means for producing
  4 same in defendant’s possession or control.
  5            2. For a temporary restraining order, preliminary and permanent injunction
  6 enjoining and restraining defendant and all persons acting in concert with it from
  7 interfering with Crorama's contractual relationship with Ali and from engaging in
  8 unfair competition against Crorama.
  9            3. For actual damages and defendant’s profits in an amount in excess of
 10 $100,000 to be determined at trial, plus interest.
 11            4. Awarding Crorama monetary relief including damages sustained by Crorama
 12 in an amount not yet determined, including actual damages for copyright infringement
 13 and willful infringement under 17 U.S.C. §§ 504, as appropriate.
 14            5. For their reasonable attorneys’ fees and costs.
 15            6. For such other and further relief as the Court deems just and proper.
 16
 17 DATED: April 9, 2019                      MANNING & KASS
                                              ELLROD, RAMIREZ, TRESTER LLP
 18
 19
 20                                           By:         /s/ Roland Tong
 21                                                 Roland Tong
                                                    Attorneys for Plaintiff
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   1                                DEMAND FOR JURY TRIAL
   2
   3            Plaintiffs demand a trial by jury.
   4
   5 DATED: April 9, 2019                       MANNING & KASS
                                                ELLROD, RAMIREZ, TRESTER LLP
   6
   7
   8                                            By:         /s/ Roland Tong
   9                                                  Roland Tong
                                                      Attorneys for Plaintiff
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